         Case: 1:18-cv-03611 Document #: 18 Filed: 05/12/21 Page 1 of 2 PageID #:118




                                                                           Waiver




                               2/3   24      24                             PTD      04/26/2021

                                      x




                                                                                          x
                                                                 05/12/2021    810




 65.00                                    65.00
         04/26 mailed waiver
05/12 Waiver of Service Accepted

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                                                                                              JG
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                                                                       THOMA.SDG    . BRUTON RT
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Case: 1:18-cv-03611 Document #: 18 Filed: 05/12/21 Page 2 of 2 PageID #:119
